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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                            PHILADELPHIA DIVISION


In re: BARBARA ANN BADY                       )
        Debtor(s)                             )
                                              )   CHAPTER 13
SANTANDER CONSUMER USA INC.                   )
     Moving Party                             )   Case No.: 16-18690 (AMC)
  v.                                          )
                                              )   Hearing Date: 2-27-18 at 11:00 AM
BARBARA ANN BADY                              )
 KARL BADY                                    )
    Respondent(s)                             )   11 U.S.C. 362
                                              )
WILLIAM C. MILLER                             )   11 U.S.C. 1301
     Trustee                                  )
                                              )
                                              )

       NOTICE OF MOTION, RESPONSE DEADLINE, AND HEARING DATE

      Santander Consumer USA Inc. has filed a Motion for Relief From The Automatic Stay
    And Co-Debtor Stay with the Court for relief from the automatic stay of 11 U.S.C. 362
    and co-debtor stay of 11 U.S.C. 1301.

      Your rights may be affected. You should read these papers carefully and discuss
    them with your attorney, if you have one in this bankruptcy case. (If you do not have
    an attorney, you may wish to consult an attorney.)

           1. If you do not want the court to grant the relief sought in the motion or if you
    want the court to consider you views on the motion, then on or before February 20, 2018
    you or your attorney must do all of the following:

                     (a) file an answer explaining your position at:
                                 United States Bankruptcy Court
                                    Robert N.C. Nix Building
                                  900 Market Street, Suite 400
                                  Philadelphia, PA 19107-4299


      If you mail an answer to the bankruptcy clerk’s office for filing, you must mail it
     early enough so that it will be received on or before the date stated above; and

                     (b) mail a copy to the movant’s attorney:
                            Morton & Craig LLC
                            Attn.: William E. Craig, Esquire
                            110 Marter Avenue, Suite 301
                            Moorestown, NJ 08057



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             2. If you or your attorney do not take the steps described in paragraphs 1(a) and
      1(b) above and attend the hearing, the court may enter an order granting the relief
      requested in the motion.

              3. A hearing on the motion is scheduled to be held before the Honorable
      Ashely M. Chan on February 27, 2018 at 11:00 am in Courtroom number 5, United
      States Bankruptcy Court, Robert N.C. Nix Building, 900 Market Street, Suite 400,
      Philadelphia, PA 19107-4299.

              4. If a copy of the motion is not enclosed, a copy of the motion will be provided
      to you if you request a copy from the attorney named in paragraph 1(b).

            5. You may contact the Bankruptcy Clerk’s office at 215-408-2800 to find out
      whether the hearing has been canceled because no one filed an answer.


      Date: 2/5/18

                                    /s/ William E. Craig
                                    William E. Craig, Esquire
                                    Morton & Craig LLC
                                    Attorney for Santander Consumer USA Inc.




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